                   Case 18-04690              Doc 13            Filed 03/06/18 Entered 03/06/18 14:13:35                          Desc Main
                                                                 Document     Page 1 of 40
Fill in this information to identify your case and this filing:


Debtor 1           Caryl L Henrich
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        __________
United States Bankruptcy Court for the: Northern     District
                                                 District     of ___________
                                                          of Illinois

Case number          18-4690
                    ___________________________________________
                                                                                                                                          Check if this is an
                                                                                                                                              amended filing

2IILFLDO)RUP 106A/B
Schedule A/B: Property                                                                                                                                   12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
    ✔
        Yes. Where is the property?
                                                                  What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                   Single-family home                              the amount of any secured claims on Schedule D:
            16040 Messenger Circle                                ✔ Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
      1.1. _________________________________________
           Street address, if available, or other description
                                                                  
                                                                   Condominium or cooperative                      Current value of the     Current value of the
                                                                   Manufactured or mobile home                     entire property?         portion you own?
             _________________________________________
                                                                   Land                                                 175,000.00
                                                                                                                    $________________            175,000.00
                                                                                                                                             $_______________
                                                                   Investment property
             Homer Glen               IL     60491
             _________________________________________
             City                    State   ZIP Code
                                                                   Timeshare                                       Describe the nature of your ownership
                                                                                                                    interest (such as fee simple, tenancy by
                                                                   Other __________________________________        the entireties, or a life estate), if known.
                                                                  Who has an interest in the property? Check one.
                                                                                                                    fee simple
                                                                                                                    __________________________________________
             Will                                                 ✔ Debtor 1 only
                                                                  
             _________________________________________
             County                                               Debtor 2 only
                                                                  Debtor 1 and Debtor 2 only                       Check if this is community property
                                                                                                                        (see instructions)
                                                                  At least one of the debtors and another
                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number: _______________________________
    If you own or have more than one, list here:
                                                                 What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                             the amount of any secured claims on Schedule D:
                                                                                                                    Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                    Duplex or multi-unit building
                                                                    Condominium or cooperative                     Current value of the     Current value of the
                                                                    Manufactured or mobile home                    entire property?         portion you own?
             ________________________________________
                                                                    Land                                           $________________        $_________________
                                                                    Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                    Timeshare
                                                                                                                    Describe the nature of your ownership
                                                                                                                    interest (such as fee simple, tenancy by
                                                                    Other __________________________________       the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.    __________________________________________

                                                                 
                                                                  Debtor 1 only
             ________________________________________
             County                                              
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                 
                                                                  At least one of the debtors and another               (see instructions)

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________


Official Form 106A/B                                             Schedule A/B: Property                                                              page 1
               Case 18-04690                  Doc 13             Filed 03/06/18           Entered 03/06/18 14:13:35 Desc Main
Debtor 1      Caryl  L Henrich                        Document
               _______________________________________________________                   Page 2 of Case                 18-4690
                                                                                                   40 number (if known)_____________________________________
               First Name       Middle Name          Last Name




                                                                  What is the property? Check all that apply.            Do not deduct secured claims or exemptions. Put

    1.3. ________________________________________
                                                                     Single-family home                                 the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description          Duplex or multi-unit building
                                                                     Condominium or cooperative                         Current value of the      Current value of the
                                                                                                                         entire property?          portion you own?
           ________________________________________                  Manufactured or mobile home
                                                                     Land                                               $________________         $_________________

           ________________________________________
                                                                     Investment property
           City                    State   ZIP Code                  Timeshare                                          Describe the nature of your ownership
                                                                                                                         interest (such as fee simple, tenancy by
                                                                     Other __________________________________           the entireties, or a life estate), if known.
                                                                                                                        __________________________________________
                                                                  Who has an interest in the property? Check one.
           ________________________________________               
                                                                   Debtor 1 only
           County
                                                                  
                                                                   Debtor 2 only
                                                                  
                                                                   Debtor 1 and Debtor 2 only                             Check if this is community property
                                                                  
                                                                   At least one of the debtors and another
                                                                                                                             (see instructions)

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                      175,000.00
                                                                                                                                                   $_________________
   you have attached for Part 1. Write that number here. ......................................................................................Î




Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
   ✔ Yes
   

   3.1.    Make:                       Hyundai
                                      ______________              Who has an interest in the property? Check one.        Do not deduct secured claims or exemptions. Put

           Model:                      Elantra
                                      ______________
                                                                  ✔ Debtor 1 only
                                                                                                                       the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
                                       2013                       Debtor 2 only
           Year:                      ____________
                                                                  Debtor 1 and Debtor 2 only                           Current value of the      Current value of the
                                87000                                                                                    entire property?          portion you own?
           Approximate mileage: ____________                      At least one of the debtors and another
           Other information:
                                                                                                                                12,000.00                 12,000.00
                                                                   Check if this is community property (see             $________________         $________________
                                                                      instructions)



   If you own or have more than one, describe here:

           Make:                      ______________              Who has an interest in the property? Check one.        Do not deduct secured claims or exemptions. Put
   3.2.

           Model:                     ______________
                                                                  
                                                                   Debtor 1 only
                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                  
                                                                   Debtor 2 only
           Year:                      ____________
                                                                  
                                                                   Debtor 1 and Debtor 2 only
                                                                                                                         Current value of the
                                                                                                                         entire property?
                                                                                                                                                   Current value of the
                                                                                                                                                   portion you own?
           Approximate mileage: ____________                      
                                                                   At least one of the debtors and another
           Other information:
                                                                   Check if this is community property (see             $________________         $________________
                                                                      instructions)




2IILFLDO)RUP$%                                              Schedule A/B: Property                                                                  page 2
                 Case 18-04690                        Doc 13                Filed 03/06/18                 Entered 03/06/18 14:13:35 Desc Main
Debtor 1         Caryl  L Henrich                        Document
                  _______________________________________________________                                 Page 3 of Case                 18-4690
                                                                                                                    40 number (if known)_____________________________________
                  First Name         Middle Name                Last Name




           Make:                            ______________                   Who has an interest in the property? Check one.                          Do not deduct secured claims or exemptions. Put
   3.3.

           Model:                           ______________
                                                                             
                                                                              Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                             
                                                                              Debtor 2 only
           Year:                            ____________
                                                                             
                                                                              Debtor 1 and Debtor 2 only                                              Current value of the            Current value of the
                                                                                                                                                      entire property?                portion you own?
           Approximate mileage: ____________                                 
                                                                              At least one of the debtors and another
           Other information:
                                                                              Check if this is community property (see                               $________________               $________________
                                                                                 instructions)


           Make:                            ______________                   Who has an interest in the property? Check one.                          Do not deduct secured claims or exemptions. Put
   3.4.

           Model:                           ______________
                                                                             
                                                                              Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                             
                                                                              Debtor 2 only
           Year:                            ____________
                                                                             
                                                                              Debtor 1 and Debtor 2 only                                              Current value of the            Current value of the
                                                                                                                                                      entire property?                portion you own?
           Approximate mileage: ____________                                 
                                                                              At least one of the debtors and another
           Other information:
                                                                              Check if this is community property (see                               $________________               $________________
                                                                                 instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   ✔ No
   
    Yes

           Make:        ____________________                                 Who has an interest in the property? Check one.                          Do not deduct secured claims or exemptions. Put
   4.1.

           Model: ____________________                                       
                                                                              Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                             
                                                                              Debtor 2 only
           Year:        ____________
                                                                             
                                                                              Debtor 1 and Debtor 2 only                                              Current value of the            Current value of the
           Other information:                                                
                                                                              At least one of the debtors and another                                 entire property?                portion you own?

                                                                              Check if this is community property (see                               $________________               $________________
                                                                                 instructions)



   If you own or have more than one, list here:

           Make:        ____________________                                 Who has an interest in the property? Check one.                          Do not deduct secured claims or exemptions. Put
   4.2.

           Model: ____________________                                       
                                                                              Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                             
                                                                              Debtor 2 only
           Year:        ____________                                                                                                                  Current value of the            Current value of the
                                                                             
                                                                              Debtor 1 and Debtor 2 only
                                                                                                                                                      entire property?                portion you own?
           Other information:                                                
                                                                              At least one of the debtors and another

                                                                                                                                                      $________________               $________________
                                                                              Check if this is community property (see
                                                                                 instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                                                     $_________________
   you have attached for Part 2. Write that number here ........................................................................................................................ Î




2IILFLDO)RUP$%                                                          Schedule A/B: Property                                                                                        page 3
                  Case 18-04690                            Doc 13                 Filed 03/06/18                     Entered 03/06/18 14:13:35 Desc Main
Debtor 1          Caryl  L Henrich                        Document
                   _______________________________________________________                                          Page 4 of Case                 18-4690
                                                                                                                              40 number (if known)_____________________________________
                    First Name           Middle Name                  Last Name




Part 3:       Describe Your Personal and Household Items

                                                                                                                                                                                               Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                              portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
       No
   ✔
       Yes. Describe. ........          standard household items                                                                                                                                          2,000.00
                                                                                                                                                                                                $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
       No
   ✔
       Yes. Describe. .........         computer, cell phone                                                                                                                                              1,500.00
                                                                                                                                                                                                $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   ✔ No
   
    Yes. Describe. .........                                                                                                                                                                                  0.00
                                                                                                                                                                                                $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   ✔
       No
       Yes. Describe. .........                                                                                                                                                                               0.00
                                                                                                                                                                                                $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   ✔
     No
     Yes. Describe. ..........                                                                                                                                                                                0.00
                                                                                                                                                                                                $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       No
   ✔
       Yes. Describe. ..........        every day clothes                                                                                                                                                   450.00
                                                                                                                                                                                                $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
       No
   ✔
       Yes. Describe. ..........                                                                                                                                                                            150.00
                                                                                                                                                                                                $___________________
                                         every day jewelry
13. Non-farm animals
   Examples: Dogs, cats, birds, horses

       No
   ✔
       Yes. Describe. ..........                                                                                                                                                                            200.00
                                                                                                                                                                                                $___________________
                                         pug
14. Any other personal and household items you did not already list, including any health aids you did not list

       No
       Yes. Give specific                                                                                                                                                                                     0.00
                                                                                                                                                                                                $___________________
        information. ..............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                              4,300.00
                                                                                                                                                                                                $______________________
   for Part 3. Write that number here .................................................................................................................................................... Î



2IILFLDO)RUP$%                                                                 Schedule A/B: Property                                                                                                 page 4
                  Case 18-04690                                 Doc 13                   Filed 03/06/18                          Entered 03/06/18 14:13:35 Desc Main
Debtor 1          Caryl  L Henrich                        Document
                   _______________________________________________________                                                      Page 5 of Case                 18-4690
                                                                                                                                          40 number (if known)_____________________________________
                    First Name             Middle Name                      Last Name




Part 4:      Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                     Current value of the
                                                                                                                                                                                                                portion you own?
                                                                                                                                                                                                                Do not deduct secured claims
                                                                                                                                                                                                                or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

     No
 ✔
     Yes ................................................................................................................................................................    Cash: .......................                300.00
                                                                                                                                                                                                                 $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   ✔
      Yes .....................                                                               Institution name:


                                            17.1. Checking account:                            First Midwest
                                                                                               _________________________________________________________                                                                     750.00
                                                                                                                                                                                                                 $__________________

                                            17.2. Checking account:                            _________________________________________________________                                                         $__________________

                                            17.3. Savings account:                             _________________________________________________________                                                         $__________________

                                            17.4. Savings account:                             _________________________________________________________                                                         $__________________

                                            17.5. Certificates of deposit:                     _________________________________________________________                                                         $__________________

                                            17.6. Other financial account:                     _________________________________________________________                                                         $__________________

                                            17.7. Other financial account:                     _________________________________________________________                                                         $__________________

                                            17.8. Other financial account:                     _________________________________________________________                                                         $__________________

                                            17.9. Other financial account:                     _________________________________________________________                                                         $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts
 ✔
     No
     Yes .................                Institution or issuer name:

                                            _________________________________________________________________________________________                                                                            $__________________
                                            _________________________________________________________________________________________                                                                            $__________________
                                            _________________________________________________________________________________________                                                                            $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture
   ✔ No
                                           Name of entity:                                                                                                                     % of ownership:
   
     Yes. Give specific                     _____________________________________________________________________                                                                0%
                                                                                                                                                                                ___________%                     $__________________
       information about
       them.........................        _____________________________________________________________________                                                                0%
                                                                                                                                                                                ___________%                     $__________________
                                            _____________________________________________________________________                                                                0%
                                                                                                                                                                                ___________%                     $__________________




2IILFLDO)RUP$%                                                                         Schedule A/B: Property                                                                                                          page 5
                 Case 18-04690                          Doc 13             Filed 03/06/18        Entered 03/06/18 14:13:35 Desc Main
Debtor 1        Caryl L Henrich                         Document
                 _______________________________________________________                        Page 6 of Case                 18-4690
                                                                                                          40 number (if known)_____________________________________
                   First Name           Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

 ✔ No

 
   Yes. Give specific                   Issuer name:
       information about
       them.......................      ______________________________________________________________________________________                $__________________
                                        ______________________________________________________________________________________
                                                                                                                                              $__________________
                                        ______________________________________________________________________________________
                                                                                                                                              $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
   ✔
      Yes. List each
       account separately.              Type of account:          Institution name:

                                        401(k) or similar plan:    401(k) VANGUARD
                                                                  ___________________________________________________________________                135,000.00
                                                                                                                                              $__________________

                                        Pension plan:             ___________________________________________________________________         $__________________

                                        IRA:                      ___________________________________________________________________         $__________________

                                        Retirement account:       ___________________________________________________________________         $__________________

                                        Keogh:                    ___________________________________________________________________         $__________________

                                        Additional account:       ___________________________________________________________________         $__________________

                                        Additional account:       ___________________________________________________________________         $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   
   ✔   No
      Yes ..........................                         Institution name or individual:

                                        Electric:             ______________________________________________________________________          $___________________
                                        Gas:                  ______________________________________________________________________          $___________________
                                        Heating oil:          ______________________________________________________________________
                                                                                                                                              $___________________
                                        Security deposit on rental unit: _____________________________________________________________
                                                                                                                                              $___________________
                                        Prepaid rent:         ______________________________________________________________________
                                                                                                                                              $___________________
                                        Telephone:            ______________________________________________________________________
                                                                                                                                              $___________________
                                        Water:                ______________________________________________________________________
                                                                                                                                              $___________________
                                        Rented furniture:     ______________________________________________________________________
                                                                                                                                              $___________________
                                        Other:                ______________________________________________________________________
                                                                                                                                              $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   ✔
      No
      Yes ..........................   Issuer name and description:
                                         _______________________________________________________________________________________              $__________________
                                        _______________________________________________________________________________________               $__________________
                                        _______________________________________________________________________________________               $__________________


2IILFLDO)RUP$%                                                        Schedule A/B: Property                                                       page 6
                 Case 18-04690                          Doc 13             Filed 03/06/18      Entered 03/06/18 14:13:35 Desc Main
Debtor 1        Caryl L Henrich                         Document
                 _______________________________________________________                      Page 7 of Case                 18-4690
                                                                                                        40 number (if known)_____________________________________
                  First Name            Middle Name            Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   ✔
      No
      Yes ....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                  ____________________________________________________________________________________                 $_________________
                                                  ____________________________________________________________________________________                 $_________________
                                                  ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit
   ✔
      No
      Yes. Give specific
       information about them. ...                                                                                                                     $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   ✔
      No
      Yes. Give specific
       information about them. ...                                                                                                                     $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
   ✔
      No
      Yes. Give specific
       information about them. ...                                                                                                                     $__________________


Money or property owed to you?                                                                                                                         Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you
   ✔
      No
      Yes. Give specific information                                                                                        Federal:              $_________________
            about them, including whether
            you already filed the returns                                                                                    State:                $_________________
            and the tax years. .......................
                                                                                                                             Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   ✔
      No
      Yes. Give specific information. .............
                                                                                                                            Alimony:                   $________________
                                                                                                                            Maintenance:               $________________
                                                                                                                            Support:                   $________________
                                                                                                                            Divorce settlement:        $________________
                                                                                                                            Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   ✔
      No
      Yes. Give specific information. ..............
                                                                                                                                                       $______________________



2IILFLDO)RUP$%                                                        Schedule A/B: Property                                                               page 7
                  Case 18-04690                            Doc 13                 Filed 03/06/18                     Entered 03/06/18 14:13:35 Desc Main
Debtor 1          Caryl  L Henrich                        Document
                   _______________________________________________________                                          Page 8 of Case                 18-4690
                                                                                                                              40 number (if known)_____________________________________
                    First Name           Middle Name                  Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   ✔
       No
       Yes. Name the insurance company             Company name:                                                                             Beneficiary:                                       Surrender or refund value:
             of each policy and list its value. ...
                                                                    ___________________________________________ ____________________________                                                     $__________________
                                                                    ___________________________________________ ____________________________                                                     $__________________
                                                                    ___________________________________________ ____________________________                                                     $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   ✔
       No
       Yes. Give specific information. .............
                                                                                                                                                                                                 $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   ✔
       No
       Yes. Describe each claim. ....................
                                                                                                                                                                                                 $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   ✔
       No
       Yes. Describe each claim. ....................
                                                                                                                                                                                                 $_____________________




35. Any financial assets you did not already list

   ✔
       No
       Yes. Give specific information............
                                                                                                                                                                                                 $_____________________


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here .................................................................................................................................................... Î              136,050.00
                                                                                                                                                                                                 $_____________________




Part 5:         Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   ✔
       No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                               Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.

38. Accounts receivable or commissions you already earned

 ✔
      No
       Yes. Describe .......
                                                                                                                                                                                               $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
   ✔
       No
       Yes. Describe .......                                                                                                                                                                  $_____________________



2IILFLDO)RUP$%                                                                 Schedule A/B: Property                                                                                                 page 8
                  Case 18-04690                            Doc 13                 Filed 03/06/18                     Entered 03/06/18 14:13:35 Desc Main
Debtor 1          Caryl L Henrich                         Document
                   _______________________________________________________                                          Page 9 of Case                 18-4690
                                                                                                                              40 number (if known)_____________________________________
                    First Name           Middle Name                  Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   ✔ No
   
    Yes. Describe .......                                                                                                                                                                     $_____________________


41. Inventory
   
   ✔ No
    Yes. Describe .......                                                                                                                                                                     $_____________________


42. Interests in partnerships or joint ventures
   ✔ No
   
    Yes. Describe .......             Name of entity:                                                                                                             % of ownership:
                                       ______________________________________________________________________                                                      ________%                   $_____________________
                                       ______________________________________________________________________                                                      ________%                   $_____________________
                                       ______________________________________________________________________                                                      ________%                   $_____________________


43. Customer lists, mailing lists, or other compilations
 
 ✔ No
 Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
         No
         Yes. Describe. .......
                                                                                                                                                                                                $____________________


44. Any business-related property you did not already list
   
   ✔ No
    Yes. Give specific                ______________________________________________________________________________________                                                                   $____________________
        information .........
                                       ______________________________________________________________________________________                                                                   $____________________
                                      ______________________________________________________________________________________                                                                   $____________________
                                      ______________________________________________________________________________________                                                                   $____________________
                                      ______________________________________________________________________________________                                                                   $____________________

                                       ______________________________________________________________________________________                                                                   $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                                  0.00
                                                                                                                                                                                                $____________________
   for Part 5. Write that number here .................................................................................................................................................... Î




Part 6:         Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   ✔ No. Go to Part 7.
   
    Yes. Go to line 47.
                                                                                                                                                                                             Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   ✔ No
   
    Yes ..........................
                                                                                                                                                                                                 $___________________



2IILFLDO)RUP$%                                                                 Schedule A/B: Property                                                                                                 page 9
                     Case 18-04690                             Doc 13                 Filed 03/06/18                     Entered 03/06/18 14:13:35 Desc Main
 Debtor 1            Caryl  L Henrich                       Document
                      _______________________________________________________                                           Page 10 ofCase                  18-4690
                                                                                                                                   40 number (if known)_____________________________________
                       First Name           Middle Name                   Last Name




48. Crops—either growing or harvested
     ✔
          No
          Yes. Give specific
           information. ............                                                                                                                                                                      $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
     ✔
          No
          Yes ..........................
                                                                                                                                                                                                          $___________________

50. Farm and fishing supplies, chemicals, and feed

     ✔
          No
          Yes ..........................
                                                                                                                                                                                                          $___________________

51. Any farm- and commercial fishing-related property you did not already list
 ✔
         No
          Yes. Give specific
           information. ............                                                                                                                                                                      $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                           0.00
                                                                                                                                                                                                          $___________________
     for Part 6. Write that number here .................................................................................................................................................... Î



Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     ✔
          No
                                                                                                                                                                                                           $________________
          Yes. Give specific
           information. ............                                                                                                                                                                        $________________
                                                                                                                                                                                                            $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................. Î
                                                                                                                                                                                                                        0.00
                                                                                                                                                                                                            $________________




Part 8:            List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 .............................................................................................................................................................. Î
                                                                                                                                                                                                               175,000.00
                                                                                                                                                                                                          $________________

56. Part 2: Total vehicles, line 5
                                                                                                                         12,000.00
                                                                                                                  $________________

57. Part 3: Total personal and household items, line 15                                                                   4,300.00
                                                                                                                  $________________

58. Part 4: Total financial assets, line 36                                                                            136,050.00
                                                                                                                  $________________

59. Part 5: Total business-related property, line 45                                                                          0.00
                                                                                                                  $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                                 0.00
                                                                                                                  $________________

61. Part 7: Total other property not listed, line 54                                                                        0.00
                                                                                                              + $________________
62. Total personal property. Add lines 56 through 61. ....................                                             140,350.00 Copy personal property total Î
                                                                                                                  $________________                                                                              140,350.00
                                                                                                                                                                                                         + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .........................................................................................                                                     315,350.00
                                                                                                                                                                                                          $_________________



 2IILFLDO)RUP$%                                                                     Schedule A/B: Property                                                                                                   page 10
                 Case 18-04690               Doc 13          Filed 03/06/18 Entered 03/06/18 14:13:35                                Desc Main
                                                              Document     Page 11 of 40
Fill in this information to identify your case:

 Debtor 1           Caryl L Henrichs
                   __________________________________________________________________
                     First Name               Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name               Last Name


 United States Bankruptcy Court for the: Northern District
                                         __________        of Illinois
                                                       District of __________

 Case number
  (If known)
                      18-4690
                     ___________________________________________                                                                             Check if this is an
                                                                                                                                                amended filing



2IILFLDO)RUP 106C
Schedule C: The Property You Claim as Exempt                                                                                                              

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     ✔ You are claiming state and federal nonbankruptcy exemptions.
                                                                                   11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on        Current value of the        Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property                portion you own
                                                            Copy the value from         Check only one box for each exemption.
                                                            Schedule A/B

      Brief                                                                                                                      ____________________________
      description:            townhome
                             _________________________       175,000.00
                                                            $________________            ✔ $ ____________
                                                                                            15,000.00                           735 ILCS 5/12-901,902
                                                                                                                                 ____________________________
      Line from                                                                           100% of fair market value, up to      ____________________________
      Schedule A/B: ______                                                                  any applicable statutory limit      ____________________________


      Brief                                                                                                                      ____________________________
      description:            personal property
                             _________________________       4,000.00
                                                            $________________            ✔ $ ____________
                                                                                            4,000.00                            735 ILCS 5/12-1001(b)
                                                                                                                                 ____________________________
      Line from                                                                           100% of fair market value, up to      ____________________________
                    ______                                                                  any applicable statutory limit       ____________________________
      Schedule A/B:

      Brief                                                                                                                      ____________________________
      description:            hyundai elantra
                             _________________________       15,000.00
                                                            $________________            ✔ $ ____________
                                                                                            2,400.00                            735 ILCA 5/12-1001(c)
                                                                                                                                 ____________________________
      Line from                                                                           100% of fair market value, up to      ____________________________
      Schedule A/B: ______                                                                  any applicable statutory limit       ____________________________


 3. Are you claiming a homestead exemption of more than $175?
     (Subject to adjustment on 4/01/1 and every 3 years after that for cases filed on or after the date of adjustment.)
     ✔
          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                             page 1 of __
            Case 18-04690                    Doc 13         Filed 03/06/18 Entered 03/06/18 14:13:35 Desc Main
Debtor 1      Caryl L Henrichs                               Document
             _______________________________________________________      Page 12 ofCase
                                                                                     40 number (if known)_____________________________________
                                                                                                          18-4690
             First Name        Middle Name      Last Name




 Part 2:    Additional Page

      Brief description of the property and line        Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
      on Schedule A/B that lists this property          portion you own
                                                        Copy the value from    Check only one box for each exemption
                                                        Schedule A/B

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                                                                                                                       ____________________________
     Schedule A/B: ______                                                         any applicable statutory limit


     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                                                                                                                       ____________________________
     Schedule A/B: ______                                                         any applicable statutory limit


     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:


2IILFLDO)RUP&                                    Schedule C: The Property You Claim as Exempt                                           2 of __
                                                                                                                                        page ___
                   Case 18-04690                  Doc 13            Filed 03/06/18 Entered 03/06/18 14:13:35                                       Desc Main
                                                                     Document     Page 13 of 40
Fill in this information to identify your case:

 Debtor 1          Caryl L Henrichs
                   __________________________________________________________________
                     First Name                   Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name                  Last Name


 United States Bankruptcy Court for the: Northern District
                                         __________        of Illinois
                                                      District of __________

 Case number         18-4690
                     ___________________________________________
 (If known)                                                                                                                                               Check if this is an
                                                                                                                                                             amended filing


2IILFLDO)RUP 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      ✔ Yes. Fill in all of the information below.
      

Part 1:        List All Secured Claims
                                                                                                                           Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                    Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                         value of collateral.   claim                 If any

2.1                                                                                                                             175,000.00 $________________
                                                                                                                                               175,000.00 $____________
                                                                                                                                                                  0.00
       Nationstar
      ______________________________________
                                                           Describe the property that secures the claim:                   $_________________
      Creditor’s Name
       8950 Cypress Waters Blvd
      ______________________________________
                                                           16040 Messenger Circle, Homer Glen, IL
      Number            Street                             60491, Townhouse
                                                           As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                               Contingent
       Coppell               TX 75019
      ______________________________________                   Unliquidated
      City                        State   ZIP Code         ✔
                                                               Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
  ✔
       Debtor 1 only                                      ✔
                                                               An agreement you made (such as mortgage or secured
       Debtor 2 only                                           car loan)
       Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
       At least one of the debtors and another                Judgment lien from a lawsuit
                                                               Other (including a right to offset) ____________________
    Check if this claim relates to a
     community debt
  Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
2.2                                                                                                                              12,000.00 $________________
                                                                                                                                                12,000.00 $____________
                                                                                                                                                                  0.00
       State of Illinois Deferred Comp
      ______________________________________
                                                           Describe the property that secures the claim:                   $_________________
      Creditor’s Name
       100 W Randolph
      ______________________________________
                                                           2013 Hyundai Elantra
      Number            Street

                                                           As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                           ✔
                                                               Contingent
       Chicago               IL 60609
      ______________________________________                   Unliquidated
      City                        State   ZIP Code             Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
  ✔
       Debtor 1 only                                      ✔
                                                               An agreement you made (such as mortgage or secured
       Debtor 2 only                                           car loan)
       Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
       At least one of the debtors and another                Judgment lien from a lawsuit
                                                               Other (including a right to offset) ____________________
    Check if this claim relates to a
     community debt
                           09/23/2013
  Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
      Add the dollar value of your entries in Column A on this page. Write that number here:                                    187,000.00
                                                                                                                           $________________


2fficial Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                             1
                                                                                                                                                               page 1 of ___
                        Case 18-04690                  Doc 13        Filed 03/06/18 Entered 03/06/18 14:13:35                                        Desc Main
  Fill in this information to identify your case:                     Document     Page 14 of 40
      Debtor 1          Caryl L Henrichs
                        __________________________________________________________________
                          First Name                   Middle Name              Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name                   Middle Name              Last Name


      United States Bankruptcy Court for the: __________
                                              Northern District    of __________
                                                                of Illinois
                                                          District

      Case number         18-04690
                          ___________________________________________
                                                                                                                                                         Check if this is an
      (If known)                                                                                                                                            amended filing


 2IILFLDO)RUP106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Part 1:               List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
         
         ✔ No. Go to Part 2.
          Yes.
 2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                       Total claim     Priority     Nonpriority
                                                                                                                                                       amount       amount
2.1
           ____________________________________________                Last 4 digits of account number ___ ___ ___ ___            $_____________ $___________ $____________
           Priority Creditor’s Name

           ____________________________________________                When was the debt incurred?          ____________
           Number            Street
           ____________________________________________
                                                                       As of the date you file, the claim is: Check all that apply.
           ____________________________________________
           City                                State    ZIP Code
                                                                          Contingent
                                                                          Unliquidated
           Who incurred the debt? Check one.
                                                                          Disputed
                 Debtor 1 only
                 Debtor 2 only                                        Type of PRIORITY unsecured claim:
                 Debtor 1 and Debtor 2 only
                                                                          Domestic support obligations
                 At least one of the debtors and another
                                                                          Taxes and certain other debts you owe the government
                 Check if this claim is for a community debt             Claims for death or personal injury while you were
           Is the claim subject to offset?                                 intoxicated
                 No                                                      Other. Specify _________________________________
                 Yes
2.2
           ____________________________________________                Last 4 digits of account number ___ ___ ___ ___                $_____________ $___________ $____________
           Priority Creditor’s Name
                                                                       When was the debt incurred?          ____________
           ____________________________________________
           Number            Street
           ____________________________________________                As of the date you file, the claim is: Check all that apply.

           ____________________________________________
                                                                          Contingent
           City                                State    ZIP Code          Unliquidated
           Who incurred the debt? Check one.                              Disputed
                 Debtor 1 only
                                                                       Type of PRIORITY unsecured claim:
                 Debtor 2 only
                                                                          Domestic support obligations
                 Debtor 1 and Debtor 2 only
                 At least one of the debtors and another
                                                                          Taxes and certain other debts you owe the government
                                                                          Claims for death or personal injury while you were
                 Check if this claim is for a community debt              intoxicated
           Is the claim subject to offset?                                Other. Specify _________________________________
                 No
                 Yes


 Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                       6
                                                                                                                                                              page 1 of ___
 Debtor 1
                   Case
                   Caryl  L 18-04690
                            Henrichs        Doc 13 Filed 03/06/18
                    _______________________________________________________
                                                                                         Entered 03/06/18        14:13:3518-04690Desc Main
                                                                                                  Case number (if known)_____________________________________
                    First Name    Middle Name          Last Name   Document             Page 15 of 40
 Part 1:           Your PRIORITY Unsecured Claims Ʌ Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                           Total claim   Priority     Nonpriority
                                                                                                                                                amount       amount


      ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                $____________ $__________ $____________
      Priority Creditor’s Name

      ____________________________________________                 When was the debt incurred?          ____________
      Number             Street

      ____________________________________________                 As of the date you file, the claim is: Check all that apply.

      ____________________________________________
                                                                      Contingent
      City                                State   ZIP Code            Unliquidated
                                                                      Disputed
      Who incurred the debt? Check one.
            Debtor 1 only                                         Type of PRIORITY unsecured claim:
            Debtor 2 only
                                                                      Domestic support obligations
            Debtor 1 and Debtor 2 only
                                                                      Taxes and certain other debts you owe the government
            At least one of the debtors and another
                                                                      Claims for death or personal injury while you were
            Check if this claim is for a community debt               intoxicated
                                                                      Other. Specify _________________________________

      Is the claim subject to offset?
            No
            Yes


      ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                $____________ $__________ $____________
      Priority Creditor’s Name

      ____________________________________________                 When was the debt incurred?          ____________
      Number             Street

      ____________________________________________                 As of the date you file, the claim is: Check all that apply.

      ____________________________________________
                                                                      Contingent
      City                                State   ZIP Code            Unliquidated
                                                                      Disputed
      Who incurred the debt? Check one.
            Debtor 1 only                                         Type of PRIORITY unsecured claim:
            Debtor 2 only
                                                                      Domestic support obligations
            Debtor 1 and Debtor 2 only
                                                                      Taxes and certain other debts you owe the government
            At least one of the debtors and another
                                                                      Claims for death or personal injury while you were
            Check if this claim is for a community debt               intoxicated
                                                                      Other. Specify _________________________________

      Is the claim subject to offset?
            No
            Yes


      ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                $____________ $__________ $____________
      Priority Creditor’s Name

      ____________________________________________                 When was the debt incurred?          ____________
      Number             Street

      ____________________________________________                 As of the date you file, the claim is: Check all that apply.

      ____________________________________________
                                                                      Contingent
      City                                State   ZIP Code            Unliquidated
                                                                      Disputed
      Who incurred the debt? Check one.
            Debtor 1 only                                         Type of PRIORITY unsecured claim:
            Debtor 2 only
                                                                      Domestic support obligations
            Debtor 1 and Debtor 2 only
                                                                      Taxes and certain other debts you owe the government
            At least one of the debtors and another
                                                                      Claims for death or personal injury while you were
            Check if this claim is for a community debt               intoxicated
                                                                      Other. Specify _________________________________

      Is the claim subject to offset?
            No
            Yes


2IILFLDO)RUP()                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                  page2__ of ___
                                                                                                                                                                       6
 Debtor 1
                    Case
                    Caryl    L18-04690
                               Henrichs       Doc 13 Filed 03/06/18 Entered 03/06/18
                    _______________________________________________________
                                                                                                     14:13:3518-04690Desc Main
                                                                                      Case number (if known)_____________________________________
                    First Name    Middle Name     Last Name Document        Page 16 of 40
 Part 2:           List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes
 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.1
       Capital One Bank USA
       _____________________________________________________________              Last 4 digits of account number ___ ___ ___ ___
       Nonpriority Creditor’s Name
                                                                                                                                                                    613.00
                                                                                                                                                          $__________________
                                                                                  When was the debt incurred?           06/07/2012
                                                                                                                        ____________
       PO Box 30281
       _____________________________________________________________
       Number           Street

       Salt Lake City                      UT         84130
       _____________________________________________________________
       City                                             State     ZIP Code        As of the date you file, the claim is: Check all that apply.

                                                                                     Contingent
       Who incurred the debt? Check one.                                             Unliquidated
       ✔
             Debtor 1 only                                                          Disputed
             Debtor 2 only
             Debtor 1 and Debtor 2 only                                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                                Student loans

             Check if this claim is for a community debt                            Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
       Is the claim subject to offset?                                               Debts to pension or profit-sharing plans, and other similar debts
       ✔
             No                                                                  ✔
                                                                                                     Credit Card
                                                                                      Other. Specify ______________________________________
             Yes

4.2    Comenity Bank/Dress Barn                                                   Last 4 digits of account number ___ ___ ___ ___                                   905.00
                                                                                                                                                          $__________________
       _____________________________________________________________
       Nonpriority Creditor’s Name                                                When was the debt incurred?           05/15/2008
                                                                                                                        ____________
       PO Box 182789
       _____________________________________________________________
       Number           Street
       Columbus                            OH         43218                       As of the date you file, the claim is: Check all that apply.
       _____________________________________________________________
       City                                             State     ZIP Code
                                                                                     Contingent
       Who incurred the debt? Check one.                                             Unliquidated
       ✔
             Debtor 1 only
                                                                                     Disputed

             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                                Student loans
                                                                                     Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt                             that you did not report as priority claims
       Is the claim subject to offset?                                               Debts to pension or profit-sharing plans, and other similar debts
       ✔
             No
                                                                                  ✔
                                                                                                     Credit Card
                                                                                      Other. Specify ______________________________________

             Yes

4.3
       Comenity Bank/Lane Bryant
       _____________________________________________________________              Last 4 digits of account number ___ ___ ___ ___                                 1,078.00
       Nonpriority Creditor’s Name                                                                                                                        $_________________
                                                                                  When was the debt incurred?            04/22/1994
                                                                                                                        ____________
       PO Box 182789
       _____________________________________________________________
       Number           Street
       Columbus                            OH         43218
       _____________________________________________________________              As of the date you file, the claim is: Check all that apply.
       City                                             State     ZIP Code

                                                                                     Contingent
       Who incurred the debt? Check one.
                                                                                     Unliquidated
       ✔ Debtor 1 only
                                                                                    Disputed
        Debtor 2 only
        Debtor 1 and Debtor 2 only                                               Type of NONPRIORITY unsecured claim:
        At least one of the debtors and another
                                                                                     Student loans
             Check if this claim is for a community debt                            Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
       Is the claim subject to offset?
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       ✔ No
                                                                                 ✔
                                                                                                     Credit Card
                                                                                      Other. Specify ______________________________________
        Yes


2IILFLDO)RUP()                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                    page3__ of 6
                                                                                                                                                                            ___
 Debtor 1
                 Case
                 Caryl    L18-04690
                            Henrichs       Doc 13 Filed 03/06/18 Entered 03/06/18
                 _______________________________________________________
                                                                                                  14:13:3518-04690Desc Main
                                                                                   Case number (if known)_____________________________________
                 First Name    Middle Name     Last Name Document        Page 17 of 40
 Part 2:       Your NONPRIORITY Unsecured Claims Ʌ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                               Total claim



                                                                              Last 4 digits of account number ___ ___ ___ ___                            1,331.00
      Kohls Dept Store
      _____________________________________________________________                                                                                   $____________
      Nonpriority Creditor’s Name
                                                                              When was the debt incurred?          03/07/2011
                                                                                                                   ____________
      PO Box 3115
      _____________________________________________________________
      Number          Street
                                                                              As of the date you file, the claim is: Check all that apply.
      Milwaukee                           WI         53201
      _____________________________________________________________
      City                                        State     ZIP Code             Contingent
                                                                                 Unliquidated
      Who incurred the debt? Check one.                                          Disputed
      
      ✔ Debtor 1 only
       Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
       Debtor 1 and Debtor 2 only                                               Student loans
       At least one of the debtors and another                                  Obligations arising out of a separation agreement or divorce that
                                                                                  you did not report as priority claims
            Check if this claim is for a community debt
                                                                                 Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                         ✔
                                                                                                Credit Card
                                                                                  Other. Specify________________________________
      ✔ No
      
       Yes



      AFNI                                                                    Last 4 digits of account number ___ ___ ___ ___                              115.00
                                                                                                                                                      $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                              When was the debt incurred?          06/13/2016
                                                                                                                   ____________
      PO Box 3097
      _____________________________________________________________
      Number          Street
                                                                              As of the date you file, the claim is: Check all that apply.
      Bloomington                         IL         61702
      _____________________________________________________________
      City                                        State     ZIP Code             Contingent
                                                                                 Unliquidated
      Who incurred the debt? Check one.                                          Disputed
      ✔ Debtor 1 only
      
       Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
       Debtor 1 and Debtor 2 only                                               Student loans
       At least one of the debtors and another                                  Obligations arising out of a separation agreement or divorce that
                                                                                  you did not report as priority claims
            Check if this claim is for a community debt
                                                                                 Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                         ✔
                                                                                                Credit Card
                                                                                  Other. Specify________________________________
      ✔ No
      
       Yes

                                                                                                                                                           196.00
                                                                                                                                                      $____________
                                                                              Last 4 digits of account number ___ ___ ___ ___
      Caine & Weiner
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                              When was the debt incurred?          11/13/2017
                                                                                                                   ____________
      PO Box 5010
      _____________________________________________________________
      Number          Street
                                                                              As of the date you file, the claim is: Check all that apply.
      Woodland Hills                      CA         91365
      _____________________________________________________________
      City                                        State     ZIP Code             Contingent
                                                                                 Unliquidated
      Who incurred the debt? Check one.                                          Disputed
      ✔ Debtor 1 only
      
       Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
       Debtor 1 and Debtor 2 only                                               Student loans
       At least one of the debtors and another                                  Obligations arising out of a separation agreement or divorce that
                                                                                  you did not report as priority claims
            Check if this claim is for a community debt
                                                                                 Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                         ✔
                                                                                                Insurance
                                                                                  Other. Specify________________________________
      ✔ No
      
       Yes



2IILFLDO)RUP()                                  Schedule E/F: Creditors Who Have Unsecured Claims                                               page 4     6
                                                                                                                                                           __ of ___
 Debtor 1
               Case
               Caryl  L18-04690
                        Henrichs        Doc 13 Filed 03/06/18
                _______________________________________________________
                                                                                  Entered 03/06/18        14:13:3518-04690Desc Main
                                                                                           Case number (if known)_____________________________________
                First Name    Middle Name           Last Name   Document         Page 18 of 40
 Part 3:       List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
     example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
     2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
     additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
      _____________________________________________________
                                                                           Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________                Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                           Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                           Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                           Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                           Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________                Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                           Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________                Claims

      _____________________________________________________
      City                                  State               ZIP Code
                                                                           Last 4 digits of account number ___ ___ ___ ___


2IILFLDO)RUP()                                 Schedule E/F: Creditors Who Have Unsecured Claims                                              page 5__ of 6
                                                                                                                                                                ___
Debtor 1
            Case
            Caryl    L18-04690
                       Henrichs       Doc 13 Filed 03/06/18 Entered 03/06/18
            _______________________________________________________
                                                                                             14:13:3518-04690Desc Main
                                                                              Case number (if known)_____________________________________
            First Name    Middle Name     Last Name Document        Page 19 of 40
Part 4:    Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                       Total claim



Total claims
               6a. Domestic support obligations                                6a.                          0.00
                                                                                       $_________________________
from Part 1
               6b. Taxes and certain other debts you owe the
                   government                                                  6b.                          0.00
                                                                                       $_________________________

               6c. Claims for death or personal injury while you were
                   intoxicated                                                 6c.                          0.00
                                                                                       $_________________________

               6d. Other. Add all other priority unsecured claims.
                   Write that amount here.                                    6d.
                                                                                     + $_________________________
                                                                                                            0.00


               6e. Total. Add lines 6a through 6d.                            6e.
                                                                                                            0.00
                                                                                       $_________________________



                                                                                       Total claim

               6f. Student loans                                               6f.                          0.00
Total claims                                                                            $_________________________
from Part 2
               6g. Obligations arising out of a separation agreement
                   or divorce that you did not report as priority
                   claims                                                      6g.                          0.00
                                                                                        $_________________________

               6h. Debts to pension or profit-sharing plans, and other
                   similar debts                                               6h.                          0.00
                                                                                       $_________________________

               6i. Other. Add all other nonpriority unsecured claims.
                   Write that amount here.                                     6i.                    4,238.00
                                                                                     + $_________________________

               6j. Total. Add lines 6f through 6i.                             6j.
                                                                                                       4,238.00
                                                                                        $_________________________




2IILFLDO)RUP()                                 Schedule E/F: Creditors Who Have Unsecured Claims                                page 6     6
                                                                                                                                           __ of ___
                 Case 18-04690               Doc 13         Filed 03/06/18 Entered 03/06/18 14:13:35                             Desc Main
                                                             Document     Page 20 of 40
 Fill in this information to identify your case:

 Debtor               Caryl L Henrichs
                      __________________________________________________________________
                       First Name             Middle Name              Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name              Last Name


                                         Northern District
 United States Bankruptcy Court for the: __________ DistrictofofIllinois
                                                                 ________

 Case number            18-4690
                       ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


2IILFLDO)RUP 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      ✔
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                               State what the contract or lease is for


2.1
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code


Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                           page 1 of ___
              Case 18-04690               Doc 13           Filed 03/06/18 Entered 03/06/18 14:13:35 Desc Main
              Caryl L Henrichs
                                                            Document     Page 21 of 40        18-4690
 Debtor 1      _______________________________________________________                Case number (if known)_____________________________________
               First Name   Middle Name        Last Name




              Additional Page if You Have More Contracts or Leases

        Person or company with whom you have the contract or lease                 What the contract or lease is for

    2
  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street
        _____________________________________________________________________
        City                         State   ZIP Code

  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code

  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code


  2._
        _____________________________________________________________________
        Name

        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code


  2._
        _____________________________________________________________________
        Name

        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code


  2._
        _____________________________________________________________________
        Name

        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code


  2._
        _____________________________________________________________________
        Name

        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code


  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code



2IILFLDO)RUP*                         Schedule G: Executory Contracts and Unexpired Leases                                  page ___ of ___
                 Case 18-04690                     Doc 13                 Filed 03/06/18 Entered 03/06/18 14:13:35                 Desc Main
                                                                           Document     Page 22 of 40
 Fill in this information to identify your case:

 Debtor 1          Caryl L Henrich
                   __________________________________________________________________
                     First Name                     Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                  Last Name


                                         Northern District
 United States Bankruptcy Court for the: __________ Districtof
                                                             ofIllinois
                                                                ________

 Case number         18-4690
                     ____________________________________________
  (If known)
                                                                                                                                              Check if this is an
                                                                                                                                                amended filing

2IILFLDO)RUP 106H
Schedule H: Your Codebtors                                                                                                                                12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      ✔
          No
          Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ✔
          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number             Street

                 ______________________________________________________________________
                 City                                             State                      ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                             Column 2: The creditor to whom you owe the debt

                                                                                                           Check all schedules that apply:
3.1
         ________________________________________________________________________________
         Name
                                                                                                            Schedule D, line ______
         ________________________________________________________________________________
                                                                                                           Schedule E/F, line ______
         Number            Street                                                                           Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                    ZIP Code

3.2
         ________________________________________________________________________________
         Name
                                                                                                            Schedule D, line ______
         ________________________________________________________________________________
                                                                                                           Schedule E/F, line ______
         Number            Street                                                                           Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                    ZIP Code

3.3
         ________________________________________________________________________________
         Name
                                                                                                            Schedule D, line ______
         ________________________________________________________________________________
                                                                                                           Schedule E/F, line ______
         Number            Street                                                                           Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                    ZIP Code



Official Form 106H                                                            Schedule H: Your Codebtors                                          page 1 of ___
                 Case 18-04690                Doc 13         Filed 03/06/18    Entered 03/06/18 14:13:35 Desc Main
 Debtor 1        Caryl  L Henrich                       Document
                  _______________________________________________________
                                                                              Page 23 ofCase
                                                                                         40number (if known)_____________________________________
                                                                                                             18-4690
                 First Name     Middle Name      Last Name




                 Additional Page to List More Codebtors

       Column 1: Your codebtor                                                                   Column 2: The creditor to whom you owe the debt

                                                                                                 Check all schedules that apply:
 3._
        ________________________________________________________________________________
        Name
                                                                                                  Schedule D, line ______
                                                                                                 Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                     Schedule G, line ______
        ________________________________________________________________________________
        City                                           State                   ZIP Code

 3._
        ________________________________________________________________________________
        Name
                                                                                                  Schedule D, line ______
                                                                                                 Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                     Schedule G, line ______
        ________________________________________________________________________________
        City                                           State                   ZIP Code

 3._
        ________________________________________________________________________________
        Name
                                                                                                  Schedule D, line ______
                                                                                                 Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                     Schedule G, line ______
        ________________________________________________________________________________
        City                                           State                   ZIP Code

 3._
        ________________________________________________________________________________
        Name
                                                                                                  Schedule D, line ______
                                                                                                 Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                     Schedule G, line ______
        ________________________________________________________________________________
        City                                           State                   ZIP Code
 3._
        ________________________________________________________________________________
        Name
                                                                                                  Schedule D, line ______
                                                                                                 Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                     Schedule G, line ______
        ________________________________________________________________________________
        City                                           State                   ZIP Code

 3._
        ________________________________________________________________________________
        Name
                                                                                                  Schedule D, line ______
                                                                                                 Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                     Schedule G, line ______
        ________________________________________________________________________________
        City                                           State                   ZIP Code

 3._
        ________________________________________________________________________________
        Name
                                                                                                  Schedule D, line ______
                                                                                                 Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                     Schedule G, line ______
        ________________________________________________________________________________
        City                                           State                   ZIP Code
 3._
        ________________________________________________________________________________
        Name
                                                                                                  Schedule D, line ______
                                                                                                 Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                     Schedule G, line ______
        ________________________________________________________________________________
        City                                           State                   ZIP Code




2IILFLDO)RUP+                                             Schedule H: Your Codebtors                                          page ___ of ___
                 Case 18-04690             Doc 13         Filed 03/06/18 Entered 03/06/18 14:13:35                           Desc Main
                                                           Document     Page 24 of 40
 Fill in this information to identify your case:


 Debtor 1           Caryl L Henrichs
                    ____________________________________________________________________
                     First Name             Middle Name             Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name             Last Name


 United States Bankruptcy Court for the: Northern District
                                         __________        of Illinois
                                                      District of ___________

 Case number          18-04690
                     ___________________________________________                                    Check if this is:
  (If known)
                                                                                                     An amended filing
                                                                                                     A supplement showing postpetition chapter 13
                                                                                                       income as of the following date:
                                                                                                       ________________
2IILFLDO)RUP 106I                                                                                     MM / DD / YYYY

Schedule I: Your Income                                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                          Debtor 1                                   Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
                                         Employment status             ✔ Employed
                                                                                                                       Employed
    information about additional
    employers.                                                          Not employed                                   Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                   Official Court Reporter
                                                                      __________________________________         __________________________________
    Occupation may include student
    or homemaker, if it applies.
                                         Employer’s name             State of Illinois
                                                                     __________________________________           __________________________________


                                         Employer’s address           100 W Randolph 8-200
                                                                     _______________________________________    ________________________________________
                                                                       Number Street                             Number    Street

                                                                     _______________________________________    ________________________________________

                                                                     _______________________________________    ________________________________________

                                                                      Chicago               IL       60601
                                                                     _______________________________________    ________________________________________
                                                                      City            State    ZIP Code           City                State ZIP Code

                                         How long employed there?         _______
                                                                          24 yrs                                   _______
                                                                                                                   24 yrs

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1       For Debtor 2 or
                                                                                                                  non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.        2.       5,700.00
                                                                                              $___________           $____________

 3. Estimate and list monthly overtime pay.                                             3.            0.00
                                                                                             + $___________      +   $____________


 4. Calculate gross income. Add line 2 + line 3.                                        4.       5,700.00
                                                                                              $__________            $____________




Official Form 106I                                               Schedule I: Your Income                                                      page 1
                 Case 18-04690                       Doc 13                Filed 03/06/18 Entered 03/06/18 14:13:35                                       Desc Main
                                                                            Document     Page 25 of 40
Debtor 1         Caryl  L Henrichs
                  _______________________________________________________                                                                          18-04690
                                                                                                                            Case number (if known)_____________________________________
                 First Name         Middle Name                Last Name



                                                                                                                           For Debtor 1         For Debtor 2 or
                                                                                                                                                non-filing spouse

   Copy line 4 here............................................................................................... Î 4.        5,700.00
                                                                                                                            $___________            $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                             5a.         1,680.00
                                                                                                                           $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                              5b.          230.00
                                                                                                                           $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                              5c.             0.00
                                                                                                                           $____________            $_____________
     5d. Required repayments of retirement fund loans                                                              5d.          393.00
                                                                                                                           $____________            $_____________
     5e. Insurance                                                                                                 5e.          282.00
                                                                                                                           $____________            $_____________
     5f. Domestic support obligations                                                                              5f.             0.00
                                                                                                                           $____________            $_____________

     5g. Union dues                                                                                                5g.            58.00
                                                                                                                           $____________            $_____________

     5h. Other deductions. Specify: state association, transp fees
                                    __________________________________                                             5h.    + $____________
                                                                                                                                  246.00        +   $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                     6.         2,899.00
                                                                                                                           $____________            $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                             7.         2,881.00
                                                                                                                           $____________            $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                   1,500.00
                                                                                                                           $____________            $_____________
           monthly net income.                                                                                     8a.
     8b. Interest and dividends                                                                                    8b.             0.00
                                                                                                                           $____________            $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                   0.00
                                                                                                                           $____________            $_____________
           settlement, and property settlement.                                                                    8c.
     8d. Unemployment compensation                                                                                 8d.             0.00
                                                                                                                           $____________            $_____________
     8e. Social Security                                                                                           8e.             0.00
                                                                                                                           $____________            $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                          0.00
                                                                                                                           $____________            $_____________

     8g. Pension or retirement income                                                                              8g.             0.00
                                                                                                                           $____________            $_____________

     8h. Other monthly income. Specify: _______________________________                                            8h.    + $____________
                                                                                                                                    0.00        + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                           9.         1,500.00
                                                                                                                           $____________            $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                               2,881.00
                                                                                                                           $___________     +           1,500.00
                                                                                                                                                    $_____________     =        4,381.00
                                                                                                                                                                           $_____________
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                      10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                     11.   +            0.00
                                                                                                                                                                           $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                           12.
                                                                                                                                                                                4,381.00
                                                                                                                                                                           $_____________
                                                                                                                                                                           Combined
                                                                                                                                                                           monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     ✔
          No.
          Yes. Explain:


2IILFLDO)RUP,                                                                  Schedule I: Your Income                                                                  page 2
                   Case 18-04690              Doc 13           Filed 03/06/18 Entered 03/06/18 14:13:35                                     Desc Main
                                                                Document     Page 26 of 40
   Fill in this information to identify your case:

   Debtor 1          Caryl L Henrich
                     __________________________________________________________________
                       First Name              Middle Name                  Last Name                           Check if this is:
   Debtor 2            ________________________________________________________________
   (Spouse, if filing) First Name              Middle Name                  Last Name
                                                                                                                 An amended filing
                                                                                                                 A supplement showing postpetition chapter 13
   United States Bankruptcy Court for the: Northern District
                                           __________        of Illinois
                                                        District of __________                                      expenses as of the following date:
                                                                                                                    ________________
   Case number         18-4690
                       ___________________________________________                                                  MM / DD / YYYY
    (If known)




 2IILFLDO)RUP 106J
 Schedule J: Your Expenses                                                                                                                                     12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

  Part 1:            Describe Your Household

 1. Is this a joint case?

    ✔
        No. Go to line 2.
        Yes. Does Debtor 2 live in a separate household?

                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 2. Do you have dependents?                  ✔ No
                                                                                            Dependent’s relationship to              Dependent’s   Does dependent live
    Do not list Debtor 1 and                  Yes. Fill out this information for            Debtor 1 or Debtor 2                     age           with you?
    Debtor 2.                                    each dependent ..........................
    Do not state the dependents’
                                                                                                                                                        No
                                                                                             _________________________                ________
    names.                                                                                                                                              Yes

                                                                                             _________________________                ________          No
                                                                                                                                                        Yes

                                                                                             _________________________                ________          No
                                                                                                                                                        Yes

                                                                                             _________________________                ________          No
                                                                                                                                                        Yes

                                                                                             _________________________                ________          No
                                                                                                                                                        Yes

 3. Do your expenses include
    expenses of people other than
                                                No
    yourself and your dependents?               Yes


 Part 2:         Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                   Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                     3,250.00
                                                                                                                                        $_____________________
      any rent for the ground or lot.                                                                                           4.

      If not included in line 4:
      4a.    Real estate taxes                                                                                                  4a.                      0.00
                                                                                                                                        $_____________________
      4b.    Property, homeowner’s, or renter’s insurance                                                                       4b.     $_____________________
      4c.    Home maintenance, repair, and upkeep expenses                                                                      4c.                      0.00
                                                                                                                                        $_____________________
      4d.    Homeowner’s association or condominium dues                                                                        4d.                    100.00
                                                                                                                                        $_____________________

Official Form 106J                                                Schedule J: Your Expenses                                                                page 1
                 Case 18-04690                Doc 13           Filed 03/06/18 Entered 03/06/18 14:13:35                   Desc Main
                                                                Document     Page 27 of 40
 Debtor 1        Caryl L Henrich
                 _______________________________________________________                                           18-4690
                                                                                            Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                       Your expenses

                                                                                                                                       0.00
                                                                                                                      $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                 5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                     6a.                   170.00
                                                                                                                      $_____________________
      6b.   Water, sewer, garbage collection                                                                   6b.                    75.00
                                                                                                                      $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                     6c.                   150.00
                                                                                                                      $_____________________
      6d.   Other. Specify: _______________________________________________                                    6d.    $_____________________

 7. Food and housekeeping supplies                                                                             7.                    100.00
                                                                                                                      $_____________________

 8. Childcare and children’s education costs                                                                   8.                      0.00
                                                                                                                      $_____________________
 9. Clothing, laundry, and dry cleaning                                                                        9.                      0.00
                                                                                                                      $_____________________
10. Personal care products and services                                                                        10.                    30.00
                                                                                                                      $_____________________
11. Medical and dental expenses                                                                                11.                    40.00
                                                                                                                      $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                     210.00
                                                                                                                      $_____________________
      Do not include car payments.                                                                             12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.                    20.00
                                                                                                                      $_____________________
14.   Charitable contributions and religious donations                                                         14.                     0.00
                                                                                                                      $_____________________

15. Insurance.                                                                                                                                       1

      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                      15a.                    0.00
                                                                                                                      $_____________________
      15b. Health insurance                                                                                    15b.                  282.00
                                                                                                                      $_____________________
      15c. Vehicle insurance                                                                                   15c.                  140.00
                                                                                                                      $_____________________
      15d. Other insurance. Specify:_______________________________________                                    15d.                    0.00
                                                                                                                      $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: ________________________________________________________                                        16.
                                                                                                                                       0.00
                                                                                                                      $_____________________

17. Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                          17a.                  393.00
                                                                                                                      $_____________________

      17b. Car payments for Vehicle 2                                                                          17b.                    0.00
                                                                                                                      $_____________________

      17c. Other. Specify:_______________________________________________                                      17c.                    0.00
                                                                                                                      $_____________________

      17d. Other. Specify:_______________________________________________                                      17d.                    0.00
                                                                                                                      $_____________________

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.                    0.00
                                                                                                                      $_____________________

19. Other payments you make to support others who do not live with you.

      Specify:_______________________________________________________                                           19.                    0.00
                                                                                                                      $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                         20a.                    0.00
                                                                                                                      $_____________________

      20b. Real estate taxes                                                                                   20b.                    0.00
                                                                                                                      $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                        20c.                    0.00
                                                                                                                      $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                            20d.                    0.00
                                                                                                                      $_____________________

      20e. Homeowner’s association or condominium dues                                                         20e.                    0.00
                                                                                                                      $_____________________



2IILFLDO)RUP-                                              Schedule J: Your Expenses                                                   page 2
                 Case 18-04690               Doc 13           Filed 03/06/18 Entered 03/06/18 14:13:35                        Desc Main
                                                               Document     Page 28 of 40
 Debtor 1        Caryl L Henrich
                 _______________________________________________________                                               18-4690
                                                                                                Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




21.    Other. Specify: _________________________________________________                                           21.                     0.00
                                                                                                                         +$_____________________

22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                              22a.                  4,860.00
                                                                                                                          $_____________________

       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                      22b.                       0.00
                                                                                                                          $_____________________

       22c. Add line 22a and 22b. The result is your monthly expenses.                                           22c.                  4,860.00
                                                                                                                          $_____________________



23. Calculate your monthly net income.
                                                                                                                                       4,381.00
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 4,860.00
                                                                                                                         – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                        -479.00
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔
         No.
         Yes.     Explain here:




2IILFLDO)RUP-                                             Schedule J: Your Expenses                                                        page 3
                   Case 18-04690            Doc 13          Filed 03/06/18 Entered 03/06/18 14:13:35                          Desc Main
                                                             Document     Page 29 of 40
   Fill in this information to identify your case:

   Debtor 1          Caryl L Henrichs
                     __________________________________________________________________
                       First Name             Middle Name                Last Name

   Debtor 2            ________________________________________________________________
   (Spouse, if filing) First Name             Middle Name                Last Name


                                           __________
   United States Bankruptcy Court for the: Northern District of Illinois
                                                        District of ______________

   Case number         18-4690
                       ___________________________________________
    (If known)                                                                                                                          Check if this is an
                                                                                                                                          amended filing




 2IILFLDO)RUP 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                     

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


   Part 1:         Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?


         Married
        ✔ Not married
        

   2. During the last 3 years, have you lived anywhere other than where you live now?
       ✔ No
       
        Yes. List all of the places you lived in the last 3 years.    Do not include where you live now.

                 Debtor 1:                                        Dates Debtor 1      Debtor 2:                                             Dates Debtor 2
                                                                  lived there                                                               lived there

                                                                                       Same as Debtor 1                                      Same as Debtor 1

                 __________________________________________       From     ________      ___________________________________________           From ________
                  Number    Street                                                       Number Street
                                                                  To       ________                                                            To    ________
                 __________________________________________                              ___________________________________________

                 __________________________________________                              ___________________________________________
                 City                    State ZIP Code                                  City                    State ZIP Code


                                                                                       Same as Debtor 1                                      Same as Debtor 1

                 __________________________________________       From     ________      ___________________________________________           From ________
                  Number    Street                                                       Number Street
                                                                  To       ________                                                            To    ________
                 __________________________________________                              ___________________________________________

                 __________________________________________                              ___________________________________________
                 City                    State ZIP Code                                  City                    State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
       states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       ✔ No
       
        Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).


   Part 2: Explain the Sources of Your Income

Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 1
                Case 18-04690                  Doc 13            Filed 03/06/18 Entered 03/06/18 14:13:35                                  Desc Main
                                                                  Document     Page 30 of 40
Debtor 1        Caryl  L Henrichs
                 _______________________________________________________                                  Case number          18-4690
                                                                                                                        (if known)_____________________________________
                 First Name     Middle Name          Last Name




 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

          No
    ✔
          Yes. Fill in the details.

                                                           Debtor 1                                                Debtor 2

                                                           Sources of income              Gross income             Sources of income            Gross income
                                                           Check all that apply.          (before deductions and   Check all that apply.        (before deductions and
                                                                                          exclusions)                                           exclusions)


            From January 1 of current year until                 Wages, commissions,
                                                                                                  3,350.00             Wages, commissions,
                                                                  bonuses, tips           $________________             bonuses, tips           $________________
            the date you filed for bankruptcy:
                                                            ✔
                                                                 Operating a business                                 Operating a business


            For last calendar year:                              Wages, commissions,                                  Wages, commissions,
                                                                  bonuses, tips           $________________             bonuses, tips           $________________
            (January 1 to December 31, 2017
                                       _________)                Operating a business                                 Operating a business
                                              YYYY



            For the calendar year before that:                   Wages, commissions,                                  Wages, commissions,
                                                                  bonuses, tips                                         bonuses, tips
                                                                                          $________________                                     $________________
            (January 1 to December 31, 2016
                                       _________)                Operating a business                                 Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     ✔ No
     
      Yes. Fill in the details.
                                                            Debtor 1                                                Debtor 2

                                                            Sources of income             Gross income from         Sources of income           Gross income from
                                                            Describe below.               each source               Describe below.             each source
                                                                                          (before deductions and                                (before deductions and
                                                                                          exclusions)                                           exclusions)


                                                 __________________                      $_________________ _____________________ $_________________
            From January 1 of current year until
            the date you filed for bankruptcy:   __________________                      $_________________ _____________________ $_________________
                                                          __________________             $_________________ _____________________ $_________________


            For last calendar year:                       __________________             $_________________ _____________________ $_________________

            (January 1 to December 31,2017
                                      ______)             __________________             $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________             $_________________ _____________________ $_________________



            For the calendar year before that:            __________________             $_________________ _____________________ $_________________
            (January 1 to December 31,2016
                                      ______)             __________________             $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________             $_________________ _____________________ $_________________




2IILFLDO)RUP                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 2
              Case 18-04690                     Doc 13            Filed 03/06/18 Entered 03/06/18 14:13:35                         Desc Main
                                                                   Document     Page 31 of 40
Debtor 1      Caryl L Henrichs
              _______________________________________________________                              Case number          18-4690
                                                                                                                 (if known)_____________________________________
               First Name       Middle Name           Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,25* or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6,25* or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/ and every 3 years after that for cases filed on or after the date of adjustment.

  ✔
         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               ✔
                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                       Dates of     Total amount paid       Amount you still owe         Was this payment for…
                                                                       payment


                      ____________________________________
                      Creditor’s Name
                                                                      _________     $_________________ $__________________                 Mortgage
                                                                                                                                           Car
                      ____________________________________            _________
                      Number    Street                                                                                                     Credit card
                                                                                                                                           Loan repayment
                      ____________________________________            _________
                                                                                                                                           Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code                                                                         Other ____________


                      ____________________________________            _________     $_________________ $__________________                 Mortgage
                      Creditor’s Name
                                                                                                                                           Car
                      ____________________________________
                      Number    Street
                                                                      _________                                                            Credit card
                                                                                                                                           Loan repayment
                      ____________________________________            _________
                                                                                                                                           Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                           Other ____________



                      ____________________________________            _________     $_________________ $__________________                 Mortgage
                      Creditor’s Name
                                                                                                                                           Car
                      ____________________________________
                      Number    Street
                                                                      _________                                                            Credit card
                                                                                                                                           Loan repayment
                      ____________________________________            _________
                                                                                                                                           Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                           Other ____________



2IILFLDO)RUP                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 3
                Case 18-04690                    Doc 13              Filed 03/06/18 Entered 03/06/18 14:13:35                         Desc Main
                                                                      Document     Page 32 of 40
Debtor 1        Caryl  L Henrichs
                 _______________________________________________________                             Case number          18-4690
                                                                                                                   (if known)_____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.
     ✔
          No
          Yes. List all payments to an insider.
                                                                          Dates of    Total amount     Amount you still    Reason for this payment
                                                                          payment     paid             owe


            ____________________________________________                 _________   $____________ $____________
            Insider’s Name


            ____________________________________________                 _________
            Number        Street


            ____________________________________________                 _________

            ____________________________________________
            City                                 State   ZIP Code



            ____________________________________________                             $____________ $____________
                                                                         _________
            Insider’s Name

            ____________________________________________                 _________
            Number        Street


            ____________________________________________                 _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     ✔
          No
          Yes. List all payments that benefited an insider.
                                                                         Dates of     Total amount     Amount you still    Reason for this payment
                                                                         payment      paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________                 _________   $____________ $____________
            Insider’s Name


            ____________________________________________                 _________
            Number        Street


            ____________________________________________                 _________

            ____________________________________________
            City                                 State   ZIP Code




            ____________________________________________                             $____________ $____________
                                                                         _________
            Insider’s Name


            ____________________________________________                 _________
            Number        Street


            ____________________________________________                 _________

            ____________________________________________
            City                                 State   ZIP Code




2IILFLDO)RUP                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 4
                Case 18-04690                       Doc 13               Filed 03/06/18 Entered 03/06/18 14:13:35                                   Desc Main
                                                                          Document     Page 33 of 40
Debtor 1        Caryl L Henrichs
                _______________________________________________________                                        Case number             18-4690
                                                                                                                             (if known)_____________________________________
                First Name            Middle Name            Last Name




  Part 4:       Identify Legal Actions, Repossessions, and Foreclosures
 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

          No
     ✔
          Yes. Fill in the details.
                                                                    Nature of the case                   Court or agency                                  Status of the case

                                                                   foreclosure                           Twelfth Judicial Court Will County
                       Nationstar Mrtgage vs. C
            Case title_____________________________
                                                                                                        ________________________________________
                                                                                                        Court Name
                                                                                                                                                          ✔
                                                                                                                                                             Pending

                                                                                                                                                             On appeal
            ____________________________________                                                        ________________________________________
                                                                                                        Number    Street                                     Concluded

            Case number       17CH-802
                              ________________________                                                  ________________________________________
                                                                                                        City                   State     ZIP Code




            Case title_____________________________
                                                                                                        ________________________________________
                                                                                                        Court Name
                                                                                                                                                             Pending

                                                                                                                                                             On appeal
            ____________________________________                                                        ________________________________________
                                                                                                        Number    Street                                     Concluded

            Case number ________________________                                                        ________________________________________
                                                                                                        City                   State     ZIP Code



 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

      No. Go to line 11.
     ✔ Yes. Fill in the information below.
     
                                                                              Describe the property                                       Date          Value of the property


                                                                             Townhome
                 Nationstar Mtgage
                 _________________________________________                                                                                11/17/2017
                                                                                                                                          __________        175,000.00
                                                                                                                                                         $______________
                 Creditor’s Name


                 8950 Cypress Waters Blvd
                 _________________________________________
                 Number      Street                                           Explain what happened

                                                                                  Property was repossessed.
                 _________________________________________
                                                                              ✔
                                                                                  Property was foreclosed.

                 Coppell                TX     75019                              Property was garnished.
                 _________________________________________
                 City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                              Describe the property                                       Date           Value of the property



                                                                                                                                         __________      $______________
                 _________________________________________
                 Creditor’s Name


                 _________________________________________
                 Number      Street
                                                                              Explain what happened

                 _________________________________________                        Property was repossessed.
                                                                                  Property was foreclosed.
                 _________________________________________
                 City                               State   ZIP Code
                                                                                  Property was garnished.
                                                                                  Property was attached, seized, or levied.



2IILFLDO)RUP                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 5
                  Case 18-04690                   Doc 13             Filed 03/06/18 Entered 03/06/18 14:13:35                            Desc Main
                                                                      Document     Page 34 of 40
Debtor 1          Caryl  L Henrichs
                   _______________________________________________________                               Case number         18-4690
                                                                                                                       (if known)_____________________________________
                   First Name    Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     ✔
          No
          Yes. Fill in the details.

                                                                 Describe the action the creditor took                           Date action      Amount
                                                                                                                                 was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                              ____________ $________________
           Number      Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–___ ___ ___ ___


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
          No
          Yes

 Part 5:          List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
     ✔
          No
          Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                              Dates you gave       Value
            per person                                                                                                           the gifts



           ______________________________________                                                                                _________          $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                                _________          $_____________

           ______________________________________
           Number      Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                              Dates you gave      Value
           per person                                                                                                            the gifts


           ______________________________________                                                                                _________          $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                                _________          $_____________


           ______________________________________
           Number      Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


2IILFLDO)RUP                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6
                  Case 18-04690                 Doc 13                 Filed 03/06/18 Entered 03/06/18 14:13:35                                   Desc Main
                                                                        Document     Page 35 of 40
Debtor 1          Caryl  L Henrichs
                   _______________________________________________________                                     Case number              18-4690
                                                                                                                             (if known)_____________________________________
                   First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     ✔
          No
          Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                   Describe what you contributed                                           Date you          Value
            that total more than $600                                                                                                     contributed



           _____________________________________                                                                                          _________         $_____________
           Charity’s Name


           _____________________________________                                                                                          _________         $_____________


           _____________________________________
           Number      Street



           _____________________________________
           City           State    ZIP Code




 Part 6:           List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambling?

     ✔ No
     
      Yes. Fill in the details.
            Describe the property you lost and                     Describe any insurance coverage for the loss                           Date of your      Value of property
            how the loss occurred                                                                                                         loss              lost
                                                                   Include the amount that insurance has paid. List pending insurance
                                                                   claims on line 33 of Schedule A/B: Property.


                                                                                                                                          _________         $_____________




 Part 7:          List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     ✔
          No
          Yes. Fill in the details.

                                                                   Description and value of any property transferred                      Date payment or   Amount of payment
            ___________________________________                                                                                           transfer was
            Person Who Was Paid                                                                                                           made

            ___________________________________
            Number       Street                                                                                                           _________         $_____________

            ___________________________________
                                                                                                                                          _________         $_____________
            ___________________________________
            City                       State    ZIP Code


            ____________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You



2IILFLDO)RUP                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 7
              Case 18-04690                     Doc 13                 Filed 03/06/18 Entered 03/06/18 14:13:35                             Desc Main
                                                                        Document     Page 36 of 40
Debtor 1      Caryl L Henrichs
              _______________________________________________________                                       Case number          18-4690
                                                                                                                          (if known)_____________________________________
                  First Name      Middle Name              Last Name




                                                                   Description and value of any property transferred                Date payment or       Amount of
                                                                                                                                    transfer was made     payment

           ____________________________________
           Person Who Was Paid
                                                                                                                                    _________            $_____________
           ____________________________________
           Number       Street

                                                                                                                                    _________            $_____________
           ____________________________________

           ____________________________________
           City                        State    ZIP Code



           ________________________________________________
           Email or website address

           ___________________________________
           Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     ✔ No
     
      Yes. Fill in the details.
                                                                   Description and value of any property transferred                Date payment or      Amount of payment
                                                                                                                                    transfer was
           ____________________________________                                                                                     made
           Person Who Was Paid

           ____________________________________                                                                                     _________            $____________
           Number        Street

           ____________________________________
                                                                                                                                    _________            $____________
           ____________________________________
           City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     ✔ No
     
      Yes. Fill in the details.
                                                                   Description and value of property        Describe any property or payments received      Date transfer
                                                                   transferred                              or debts paid in exchange                       was made
           ___________________________________
           Person Who Received Transfer

           ___________________________________                                                                                                              _________
           Number       Street

           ___________________________________

           ___________________________________
           City                        State    ZIP Code


           Person’s relationship to you _____________

           ___________________________________
           Person Who Received Transfer
                                                                                                                                                            _________
           ___________________________________
           Number       Street

           ___________________________________

           ___________________________________
           City                        State    ZIP Code

           Person’s relationship to you _____________

2IILFLDO)RUP                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 8
                Case 18-04690                   Doc 13                 Filed 03/06/18 Entered 03/06/18 14:13:35                               Desc Main
                                                                        Document     Page 37 of 40
Debtor 1        Caryl  L Henrichs
                 _______________________________________________________                                     Case number          18-4690
                                                                                                                            (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     ✔
          No
          Yes. Fill in the details.

                                                                   Description and value of the property transferred                                         Date transfer
                                                                                                                                                             was made


                                                                                                                                                             _________
           Name of trust __________________________


           ______________________________________




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     ✔
          No
          Yes. Fill in the details.

                                                                   Last 4 digits of account number     Type of account or          Date account was       Last balance before
                                                                                                       instrument                  closed, sold, moved,   closing or transfer
                                                                                                                                   or transferred
            ____________________________________
            Name of Financial Institution
                                                                   XXXX–___ ___ ___ ___                Checking                  _________              $___________
            ____________________________________
            Number       Street
                                                                                                        Savings
            ____________________________________                                                        Money market
            ____________________________________
                                                                                                        Brokerage
            City                       State    ZIP Code
                                                                                                        Other__________

            ____________________________________                   XXXX–___ ___ ___ ___                Checking                  _________              $___________
            Name of Financial Institution
                                                                                                        Savings
            ____________________________________
            Number       Street                                                                         Money market
            ____________________________________                                                        Brokerage
            ____________________________________                                                        Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
          No
          Yes. Fill in the details.
                                                                   Who else had access to it?                      Describe the contents                         Do you still
                                                                                                                                                                 have it?

                                                                                                                                                                    No
            ____________________________________
            Name of Financial Institution
                                                                  _______________________________________
                                                                  Name
                                                                                                                                                                    Yes

            ____________________________________                  _______________________________________                                                        
            Number       Street                                   Number   Street

            ____________________________________
                                                                  _______________________________________
                                                                  City       State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



2IILFLDO)RUP                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 9
                   Case 18-04690                   Doc 13                 Filed 03/06/18 Entered 03/06/18 14:13:35                                       Desc Main
                                                                           Document     Page 38 of 40
Debtor 1           Caryl  L Henrichs
                    _______________________________________________________                                              Case number         18-4690
                                                                                                                                       (if known)_____________________________________
                    First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    ✔
          No
          Yes. Fill in the details.
                                                                     Who else has or had access to it?                        Describe the contents                         Do you still
                                                                                                                                                                            have it?


             ___________________________________                     _______________________________________                                                                 No
             Name of Storage Facility                                Name
                                                                                                                                                                             Yes
             ___________________________________                     _______________________________________                                                                
             Number       Street                                     Number    Street

             ___________________________________                     _______________________________________
                                                                     City State ZIP Code
             ___________________________________
             City                        State     ZIP Code



 Part 9:              Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     ✔ No
     
      Yes. Fill in the details.
                                                                    Where is the property?                                    Describe the property                     Value


             ___________________________________
             Owner’s Name                                                                                                                                               $__________
                                                                   _________________________________________
             ___________________________________                   Number     Street
             Number        Street
                                                                   _________________________________________
             ___________________________________
                                                                   _________________________________________
             ___________________________________                   City                             State     ZIP Code
             City                        State     ZIP Code


 Part 10:             Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
     utilize it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

     ✔
          No
          Yes. Fill in the details.
                                                                     Governmental unit                            Environmental law, if you know it                    Date of notice



            ____________________________________                    _______________________________                                                                     _________
            Name of site                                            Governmental unit

            ____________________________________                    _______________________________
            Number       Street                                     Number    Street

                                                                    _______________________________
            ____________________________________                    City                   State   ZIP Code


            ____________________________________
            City                        State     ZIP Code




2IILFLDO)RUP                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                  page 10
                Case 18-04690                    Doc 13                 Filed 03/06/18 Entered 03/06/18 14:13:35                                       Desc Main
                                                                         Document     Page 39 of 40
Debtor 1        Caryl  L Henrichs
                 _______________________________________________________                                               Case number           18-4690
                                                                                                                                     (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     ✔ No
     
      Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                   Date of notice


            ____________________________________ _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                        _________

            ____________________________________ _______________________________
            Number        Street                                  Number     Street


            ____________________________________ _______________________________
                                                                  City                  State    ZIP Code

            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     ✔
          No
          Yes. Fill in the details.
                                                                                                                                                                        Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                        case

           Case title______________________________
                                                                    ________________________________
                                                                    Court Name
                                                                                                                                                                         Pending
           ______________________________________
                                                                                                                                                                         On appeal
                                                                    ________________________________
                                                                    Number     Street                                                                                   Concluded

           ______________________________________
                                                                    ________________________________
           Case number                                              City                        State   ZIP Code                                                        

 Part 11:            Give Details About Your Business or Connections to Any Business
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
           ✔ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           
            A member of a limited liability company (LLC) or limited liability partnership (LLP)
            A partner in a partnership
            An officer, director, or managing executive of a corporation
            An owner of at least 5% of the voting or equity securities of a corporation
      No. None of the above applies. Go to Part 12.
     ✔ Yes. Check all that apply above and fill in the details below for each business.
     
                                                                    Describe the nature of the business                               Employer Identification number
            Caryl  L Henrichs
            ____________________________________                                                                                      Do not include Social Security number or ITIN.
            Business Name
                                                                   court reporter
            100  W Randolph
            ____________________________________                                                                                      EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                  Dates business existed
            ____________________________________
                                                                    Ken Naber Ltd.
            Chicago             il     60601                                                                                          From 09/01/2007   03/05/2018
                                                                                                                                             _______ To _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                               Employer Identification number
            ____________________________________                                                                                      Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                      EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                  Dates business existed
            ____________________________________

            ____________________________________
                                                                                                                                      From      _______ To _______
            City                        State    ZIP Code


2IILFLDO)RUP                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                   page 11
                Case 18-04690                    Doc 13             Filed 03/06/18 Entered 03/06/18 14:13:35                              Desc Main
                                                                     Document     Page 40 of 40
Debtor 1        Caryl  L Henrichs
                 _______________________________________________________                                  Case number         18-4690
                                                                                                                        (if known)_____________________________________
                   First Name      Middle Name          Last Name




                                                                                                                         Employer Identification number
                                                                Describe the nature of the business
                                                                                                                         Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                         EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                Name of accountant or bookkeeper                         Dates business existed

            ____________________________________

            ____________________________________                                                                         From     _______ To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     ✔
          No
          Yes. Fill in the details below.

                                                                Date issued



            ____________________________________                ____________
            Name                                                MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.



      8     ______________________________________________                    8_____________________________
            Signature of Debtor 1                                                Signature of Debtor 2


            Date ________________                                                Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

            No
            Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
           No
           Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                              Declaration, and Signature (Official Form 119).




2IILFLDO)RUP                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 12
